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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

KARMEN LEE DAVIS,

                   Plaintiff,

         v.                                          Civil Action No. 2:18-cv-00318-JTM-JEM
ARCELORMITTAL BURNS HARBOR,
LLC,

                   Defendant.


            DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
        PLAINTIFF’S COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         NOW COMES DEFENDANT ARCELORMITTAL USA LLC (“ArcelorMittal”),

improperly sued as ARCELORMITTAL BURNS HARBOR, LLC, by and through its attorneys,

Seyfarth Shaw LLP, provide the following answers and defenses to Plaintiff Karmen Lee Davis’s

(“Plaintiff”) Complaint for Damages and Injunctive Relief (“Complaint”). All allegations not

specifically admitted herein are denied.

COMPLAINT ¶I:

         INTRODUCTION

        This is a civil action brought by Plaintiff, Karmen Lee Davis, against her employer,
Arcelormittal Burns Harbor, LLC, because of policies and practices which caused and continue
to cause Plaintiff to suffer discrimination in her pursuit of employment based on her disability in
violation of federal discrimination laws causing Plaintiff to suffer mental anguish, humiliation
and diminishment of her quality of life and lost employment opportunities, advancement, income
and other benefits.

      Plaintiff seeks redress for the discrimination practiced against her because of her well
known and established disabilities which Defendant repeatedly refused to accommodate.

        For her relief, Plaintiff asks for injunctive relief, damages for her physical and mental
injuries including lost income and extra expenses she incurred, prejudgment and postjudgment
interest, litigation expenses, costs, and attorney fees.




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ANSWER:

         ArcelorMittal admits that Plaintiff purports to bring this lawsuit based upon supposed

disability discrimination and lack of accommodation. ArcelorMittal admits that Plaintiff’s

Complaint purports to seek certain monetary and injunctive relief. ArcelorMittal denies the

remaining allegations in these unnumbered introductory paragraphs of the Complaint, and

specifically denies that ArcelorMittal Burns Harbor LLC employed Plaintiff.

COMPLAINT ¶II(A):

         JURISDICTION AND VENUE

       This action arises under the provisions of Title I of the Americans with Disabilities Act of
1990 (ADA, 42 USC §12111), as amended by the ADA Amendments Act of 2008 (ADAAA).
See 42 USC §12101 et. seq.

ANSWER:

         ArcelorMittal admits that Plaintiff purports to invoke statutory provisions to support its

filing of this lawsuit in federal court. ArcelorMittal admits that the cited Title I of the Americans

with Disabilities Act of 1990, as amended by the ADA Amendments Act of 2008, authorizes the

claims being pursued by Plaintiff. ArcelorMittal denies the remaining allegations contained in

paragraph II(A) of the Complaint.

COMPLAINT ¶II(B):

         This Court has jurisdiction of this cause under the provisions of 28 USC §§1331 and
1343.

ANSWER:

         ArcelorMittal admits that the United States District Court for the Northern District of

Indiana has jurisdiction over this matter. ArcelorMittal denies the remaining allegations in

paragraph II(B) of the Complaint.




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COMPLAINT ¶II(C):

        Venue is proper under 28 USC §1391 in that this action is being brought in the Northern
District of the State of Indiana which is where Defendant does business and employed Plaintiff
and where the cause of action arises.

ANSWER:

         ArcelorMittal admits that the United States District Court for the Northern District of

Indiana is a proper venue. ArcelorMittal denies the remaining allegations in paragraph II(C) of

the Complaint.

COMPLAINT ¶II(D):

       Declaratory and injunctive relief is authorized pursuant to 28 USC §§2201 and 2202 and
Federal Rules of Civil Procedure, Rules 57 and 65.

ANSWER:

         Paragraph II(D) states legal conclusions concerning statutory and procedural rules that

speak for themselves, to which no response is required. To the extent this paragraph asserts

allegations beyond a mere statement of the identified statutes and rules, ArcelorMittal denies

such allegations.

COMPLAINT ¶II(E):

       Plaintiff filed her Charge of Discrimination with the Equal Employment Opportunity
Commission (EEOC) as Charge Number 846-201730278 on September 6, 2017, and amended on
or about January 15, 2018. The EEOC issued a “Notice of Right to Sue” to Plaintiff on or about
May 29, 2018, which she received on or after June 4, 2018.

ANSWER:

         ArcelorMittal admits that Plaintiff filed a Charge of Discrimination with the EEOC on

September 6, 2017. ArcelorMittal lacks sufficient information to respond to the remaining

allegations contained in Paragraph II(E) of the Complaint. To the extent a response is required,

ArcelorMittal denies the remaining allegations contained in Paragraph II(E) of the Complaint.




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COMPLAINT ¶III:

         Plaintiff requests that this matter be tried by jury as to damages.

ANSWER:

         ArcelorMittal admits that Plaintiff’s Complaint purports to seek trial by jury as to

damages. ArcelorMittal denies the remaining allegations contained in Paragraph III of the

Complaint.

COMPLAINT ¶IV:

      Plaintiff is Karmen Lee Davis (Karmen), an individual who resided throughout her
employment with Defendant and still resides in Portage, Indiana.

ANSWER:

         ArcelorMittal lacks sufficient information to respond to the allegations contained in

Paragraph IV of the Complaint. To the extent a response is required, ArcelorMittal denies the

allegations contained in Paragraph IV of the Complaint.

COMPLAINT ¶V(1):

       Arcelormittal Burns Harbor, LLC (Defendant) does business in Indiana as a
“foreign limited liability company” formed in Delaware, It[sic] has at least fifteen employees.

ANSWER:

         ArcelorMittal admits that ArcelorMittal Burns Harbor LLC does business in Indiana as a

“foreign limited liability company” formed in Delaware, and it has at least fifteen employees.

ArcelorMittal denies that Plaintiff was ever employed by ArcelorMittal Burns Harbor LLC, and

denies the remaining allegations contained in paragraph V(1) of the Complaint.

COMPLAINT ¶V(2):

         Defendant is a steel making facility; and

ANSWER:

         ArcelorMittal admits the allegations contained in paragraph V(2) of the Complaint.


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COMPLAINT ¶V(3):

         Is being sued for damages, injunctive and other relief.

ANSWER:

         ArcelorMittal admits that Plaintiff purports to sue it for damages, injunctive and other

relief. ArcelorMittal denies the remaining allegations of paragraph V(3) of the Complaint.

COMPLAINT ¶VI(A):

         UNDERLYING FACTS

      On or about March 4, 2013, Karmen started working for Defendant as a laborer in the
2BOF East side of the plant at 3210 Watling Street, East Chicago, IN 46312;

ANSWER:

         ArcelorMittal admits that Plaintiff began work on or about March 4, 2013 as a laborer in

No. 2 Steel Producing of its plant at 3210 Watling Street, East Chicago, IN 46312. ArcelorMittal

denies the remaining allegations of Paragraph VI(A) of the Complaint.

COMPLAINT ¶VI(B):

       In June of 2014, Karmen was working as a Hot Metal Pourer when she was involved in a
bad accident for which she had to take medical leave until July of 2014.

ANSWER:

         ArcelorMittal admits that Plaintiff had an accident in June 2014 while working as an

Operating Technician executing the Pourer Hot Metal tasks, and that she took medical leave as a

result, from which she returned to work in July 2014. ArcelorMittal denies the remaining

allegations contained in paragraph VI(B) of the Complaint.

COMPLAINT ¶VI(B)(1):

       The accident involved Karmen’s fall into a thirty-two foot pit nearly costing her her life
and resulting in several surgeries and ongoing treatment.




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ANSWER:

         ArcelorMittal admits that Plaintiff’s accident involved her falling into a pit.

ArcelorMittal lacks sufficient information to respond to the remaining allegations contained in

Paragraph VI(B)(1) of the Complaint. To the extent a response is required, ArcelorMittal denies

the remaining allegations contained in Paragraph VI(B)(1) of the Complaint.

COMPLAINT ¶VI(B)(2):

        Karmen was badly injured and placed on restrictions for her injuries which included
PTSD (post-traumatic stress disorder), post concussive trauma with migraines and physical
injuries.

ANSWER:

         ArcelorMittal admits that Plaintiff was injured as a result of her accident and her doctors

placed certain physical restrictions on her work. ArcelorMittal denies the remaining allegations

of Paragraph VI(B)(2) of the Complaint.

COMPLAINT ¶VI(B)(3):

       The restrictions included no lifting over 30 pounds, no repetitive overhead work and no
prolonged walking.

ANSWER:

         ArcelorMittal admits the allegations of Paragraph VI(B)(3) of the Complaint.

COMPLAINT ¶VI(B)(4):

        Karmen eventually returned to work in November of 2014 at the same Scrap Inspector
position she held before.

ANSWER:

         ArcelorMittal admits that Plaintiff was an Operating Technician executing Scrap

Inspector tasks in November 2014. ArcelorMittal denies the remaining allegations of Paragraph

VI(B)(4) of the Complaint.




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COMPLAINT ¶VI(B)(5):

        There is no evidence that she was unable to perform the duties of a Scrap Inspector or
other job not within the area where she fell working as a Hot Metal Pourer.

ANSWER:

         ArcelorMittal admits that Plaintiff executed the Scrap Inspector tasks. ArcelorMittal

denies the remaining allegations of Paragraph VI(B)(5) of the Complaint.

COMPLAINT ¶VI(B)(6):

        There was evidence that the tragedy caused her a fear to enter the production floor where
the accident took place and caused her PTSD.

ANSWER:

         ArcelorMittal admits that Plaintiff did not wish to enter the production floor where her

accident occurred. ArcelorMittal lacks sufficient information to respond to the remaining

allegations contained in Paragraph VI(B)(6) of the Complaint. To the extent a response is

required, ArcelorMittal denies the remaining allegations contained in Paragraph VI(B)(6) of the

Complaint.

COMPLAINT ¶VI(B)(7):

         She tendered a diagnosis from her psychologist regarding her PTSD.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(B)(7) of the Complaint.

COMPLAINT ¶VI(B)(8):

       Jennifer Spiegal, HR for Defendant, told her that neither the restrictions nor the
psychologist’s diagnosis of PTSD were sufficient.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(B)(8) of the Complaint.

COMPLAINT ¶VI(B)(9)(a):

         Defendants eventually and arbitrarily decided as of August 31, 2017, that:

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         Karmen could not work anywhere except for the administrative building; and

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(B)(9)(a) of the Complaint .

COMPLAINT ¶VI(B)(9)(b):

         If she could pass the clerical battery test.

ANSWER:

         ArcelorMittal admits that a clerical test may have been necessary to work in certain

positions within the administrative building. ArcelorMittal denies the remaining allegations of

Paragraph VI(B)(9)(b) of the Complaint.

COMPLAINT ¶VI(B)(10):

       There was no evidence again that she could not work as a Scrap Inspector given her
physical and mental restrictions and experience.

ANSWER:

         ArcelorMittal admits that Plaintiff had experience executing Scrap Inspector tasks.

ArcelorMittal denies the remaining allegations of Paragraph VI(B)(10) of the Complaint.

COMPLAINT ¶VI(D):

       Defendant’s supervisors and managers were well aware of what Karmen had gone
through, her continuing diagnoses and her experience and training as a Scrap Inspector.

ANSWER:

         ArcelorMittal admits that Plaintiff’s managers and supervisors were aware of her

experience executing Scrap Inspector tasks. ArcelorMittal denies the remaining allegations of

Paragraph VI(D) of the Complaint.

COMPLAINT ¶VI(D)(1):

        Karmen applied for and was granted FMLA for the post concussive trauma diagnosis, but
did not use it.




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ANSWER:

         ArcelorMittal admits that Plaintiff applied for and was granted FMLA, but did not use it.

ArcelorMittal denies the remaining allegations of Paragraph VI(D)(1) of the Complaint.

COMPLAINT ¶VI(D)(2):

         In October of 2014, Karmen underwent another medical procedure and:

ANSWER:

         ArcelorMittal admits the allegations of Paragraph VI(D)(2) of the Complaint.

COMPLAINT ¶VI(D)(3):

         Returned to work in November of 2014 as a Scrap Inspector.

ANSWER:

         ArcelorMittal admits that Plaintiff was an Operating Technician executing Scrap

Inspector tasks in November 2014. ArcelorMittal denies the remaining allegations of Paragraph

VI(D)(3) of the Complaint.

COMPLAINT ¶VI(E)(1):

         On or about July 12, 2016:

         Karmen’s PTSD diagnosis was presented by John (Hulio) Martinez:

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(1) of the Complaint.

COMPLAINT ¶VI(E)(1)(a):

         Without Karmen’s permission as part of a training class;

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(1)(a) of the Complaint.

COMPLAINT ¶VI(E)(1)(b):

         He referred to Karmen as being “crazy” while she suffered a breakdown in the training
class;


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ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(1)(b) of the Complaint.

COMPLAINT ¶VI(E)(1)(c):

         As she tried to explain the difficulty of being in that type of environment..[sic]

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(1)(c) of the Complaint.

COMPLAINT ¶VI(E)(2):

         As a result, Karmen suffered another breakdown; and

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(2) of the Complaint.

COMPLAINT ¶VI(E)(3):

         Was sent to the company clinic therapist, Ray Wojohoski

ANSWER:

         ArcelorMittal admits that Plaintiff saw Ray Wojciechowski. ArcelorMittal denies the

remaining allegations of Paragraph VI(E)(3) of the Complaint.

COMPLAINT ¶VI(E)(3)(a):

         As ordered by Martinez; and

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(3)(a) of the Complaint.

COMPLAINT ¶VI(E)(3)(b):

         Another manager, Steve Keck

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(3)(b) of the Complaint.

COMPLAINT ¶VI(E)(4):

         The discussion with Ray was about Karmen’s PTSD and this episode with Martinez.

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ANSWER:

         ArcelorMittal admits that Plaintiff saw Ray Wojciechowski. ArcelorMittal denies the

remaining allegations of Paragraph VI(E)(4) of the Complaint.

COMPLAINT ¶VI(E)(5):

         The Clinic had full knowledge of Karmen’s condition.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(E)(5) of the Complaint.

COMPLAINT ¶VI(F):

       Defendant later claimed that her position was eliminated by a complete shutdown of the
plant within which she was injured.

ANSWER:

         ArcelorMittal admits that the Scrap Inspector tasks for No. 2 Steel Producing were

eliminated when it shut down No. 2 Steel Producing. ArcelorMittal denies the remaining

allegations of Paragraph VI(F) of the Complaint.

COMPLAINT ¶VI(F)(1):

         However, the duties and procedures were still being performed.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(F)(1) of the Complaint.

COMPLAINT ¶VI(F)(2):

      Karmen was told to give her key to the scrap trailer to Karen Johnson who took over
Karmen’s former job as a Scrap Inspector.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(F)(2) of the Complaint.

COMPLAINT ¶VI(F)(3):

       The job Karmen had still exists and she could then and can still do the duties of that job,
Scrap Inspector, wherever it might be.


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ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(F)(3) of the Complaint.

COMPLAINT ¶VI(F)(4):

       Instead of accommodating Karmen, the move and her diagnosis were used to oust her
from doing any work for Defendant.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(F)(3) of the Complaint.

COMPLAINT ¶VI(F)(5):

         Karmen had performed as Scrap Inspector:

ANSWER:

         ArcelorMittal admits Plaintiff executed Scrap Inspector tasks. ArcelorMittal denies the

remaining allegations of Paragraph VI(F)(5) of the Complaint.

COMPLAINT ¶VI(F)(5)(a):

         For three years with her restrictions and disability.

ANSWER:

         ArcelorMittal admits that Plaintiff executed Scrap Inspector tasks for approximately two

years and ten months. ArcelorMittal denies the remaining allegations of Paragraph VI(F)(5)(a)

of the Complaint.

COMPLAINT ¶VI(F)(5)(b):

         The same job that was given to someone without any disabilities.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(F)(5)(a) of the Complaint.

COMPLAINT ¶VI(F)(5)(c):

         In any case, Al Pace, Scrap Department head, said that he wanted Karmen to stay; and




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ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(F)(5)(c) of the Complaint.

COMPLAINT ¶VI(F)(5)(d):

         Perform the duties of Scrap Inspector after the 2BOF shutdown.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(F)(5)(d) of the Complaint.

COMPLAINT ¶VI(G)(1):

         As part of her efforts at getting an accommodation for a job, Karmen:

       Returned to the clinic on June 6, 2017, with a copy of her diagnosis from her
psychologist dated May 5, 2016.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(G)(1) of the Complaint.

COMPLAINT ¶VI(G)(2):

         Also provided a diagnosis from her neurologist she had previously submitted to Martinez.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(G)(2) of the Complaint.

COMPLAINT ¶VI(H)(1):

       Despite her submissions and contentions, Karmen was forced to go on S&A (medical)
leave where she only received:

         Seventy per cent of her base pay;

ANSWER:

         ArcelorMittal admits that Plaintiff went on Sickness and Accident leave, during which

she was eligible to receive 70% of her base pay, based on a maximum of 40 hours per week.

ArcelorMittal denies the remaining allegations of Paragraph VI(H)(1) of the Complaint.

COMPLAINT ¶VI(H)(2):

         No overtime pay;

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ANSWER:

         ArcelorMittal admits that Plaintiff went on Sickness and Accident leave, during which

she was not eligible to be paid for overtime because she was not working. ArcelorMittal denies

the remaining allegations of Paragraph VI(H)(2) of the Complaint.

COMPLAINT ¶VI(H)(3):

         No allotment into her 401K; and

ANSWER:

         ArcelorMittal admits that Plaintiff went on Sickness and Accident leave, during which

time she was not eligible to contribute to her 401(k). ArcelorMittal denies the remaining

allegations of Paragraph VI(H)(2) of the Complaint.

COMPLAINT ¶VI(H)(4):

         Only a minimum percentage of bonuses given to other hourly employees.

ANSWER:

         ArcelorMittal admits that Plaintiff went on Sickness and Accident leave, and was eligible

for bonus pay to the extent earned prior to going on Sickness and Accident leave. ArcelorMittal

denies the remaining allegations of Paragraph VI(H)(2) of the Complaint.

COMPLAINT ¶VI(I)(1):

         The limitation to S&A leave was an adverse action because:

         It was involuntarily invoked;

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(I)(1) of the Complaint.

COMPLAINT ¶VI(I)(2):

         It caused a reduction in income and other benefits offered to the non-disabled; and




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ANSWER:

         ArcelorMittal denies that allegations of Paragraph VI(I)(2) of the Complaint.

COMPLAINT ¶VI(I)(3):

         It has either expired or will expire in the near future.

ANSWER:

         ArcelorMittal admits that employees may be on Sickness and Accident leave for 52

weeks. ArcelorMittal denies that remaining allegations of Paragraph VI(I)(3) of the Complaint.

COMPLAINT ¶VI(J):

        The union representative told Karmen that Defendant does not consider a mental illness
or injury a disability, only physical disabilities count.

ANSWER:

         ArcelorMittal denies that it does not consider mental illnesses a disability. ArcelorMittal

lacks sufficient information to respond to the remaining allegations contained in Paragraph VI(J)

of the Complaint. To the extent a response is required, ArcelorMittal denies the remaining

allegations contained in Paragraph VI(J) of the Complaint.

COMPLAINT ¶VI(J)(1):

         She was told to stay on S&A leave to get something; however,

ANSWER:

         ArcelorMittal denies it told Plaintiff to “stay on S&A leave to get something.”

ArcelorMittal lacks sufficient information regarding what any Union Representatives told

Plaintiff. ArcelorMittal denies the remaining allegations contained in Paragraph VI(J)(1) of the

Complaint.

COMPLAINT ¶VI(J)(2):

         She turned in her mental diagnoses anyway.



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ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(J)(2) of the Complaint.

COMPLAINT ¶VI(J)(3):

       Company representatives then claimed she could not perform the tasks required of a
Scrap Inspector which she had done all along; or

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(J)(3) of the Complaint.

COMPLAINT ¶VI(J)(4):

         Even work at the mill anymore at all because of her diagnoses.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(J)(3) of the Complaint.

COMPLAINT ¶VI(K):

        Defendant told her to test for a clerical position for which she was not initially qualified
nor really interested.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(K) of the Complaint.

COMPLAINT ¶VI(K)(1):

         She did consider taking the testing battery anyway.

ANSWER:

         ArcelorMittal lacks sufficient information to respond to the allegations contained in

Paragraph VI(K)(1) of the Complaint. To the extent a response is required, ArcelorMittal denies

the allegations contained in Paragraph VI(K)(1) of the Complaint.

COMPLAINT ¶VI(K)(2):

          She was required to do a walk through to show whether she could work in the plant again
at all - she could.




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ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(K)(2) of the Complaint.

COMPLAINT ¶VI(K)(3):

       Defendant’s representative assumed she could not do her old job as a Scrap Inspector
based on false assumptions surrounding her PTSD.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(K)(3) of the Complaint.

COMPLAINT ¶VI(K)(4):

      As a result of these activities, Karmen elected not to take the clerical battery since the
outcome was pre-determined.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VI(K)(4) of the Complaint.

COMPLAINT ¶VI(L)(a):

         As of January 15, 2018:

         The Scrap Inspector position was not phased out;

ANSWER:

         ArcelorMittal admits that Scrap Inspector tasks exist at other divisions of its facility

outside of No. 2 Steel Producing. ArcelorMittal denies the remaining allegations of Paragraph

VI(L)(a) of the Complaint.

COMPLAINT ¶VI(L)(b):

         Karen Johnson was performing that job and other duties; and

ANSWER:

         ArcelorMittal admits that Karen Johnson has executed Scrap Inspector tasks and other

tasks during her employment with ArcelorMittal. ArcelorMittal denies the remaining allegations

of Paragraph VI(L)(b) of the Complaint.



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COMPLAINT ¶VI(L)(c):

         Was not disabled.

ANSWER:

         ArcelorMittal admits the allegation of Paragraph VI(L)(c) of the Complaint.

COMPLAINT ¶VI(L)(d):

         Karmen filed a complaint with Ron Allen, Human Resources, but

ANSWER:

         ArcelorMittal denies the allegation of Paragraph VI(L)(d) of the Complaint.

COMPLAINT ¶VI(L)(e):

         Nothing came of her complaint.

ANSWER:

         ArcelorMittal denies the allegation of Paragraph VI(L)(e) of the Complaint.

COMPLAINT ¶VI(J)[sic]:

         Karmen filed her charge with the EEOC when nothing else worked.

ANSWER:

         ArcelorMittal admits that Plaintiff filed a charge with the EEOC. ArcelorMittal denies

the remaining allegations of Paragraph VI(J) of the Complaint.

COMPLAINT ¶VII:

         CAUSE OF ACTION

       The allegations above state a claim for relief based on the policies and practices of
Defendant and its employees and agents which deprived Plaintiff of the rights and privileges
guaranteed her by federal law and Title I of the Americans with Disabilities Act of 1990
(ADA, 42 USC §12111), as amended by the ADA Amendments Act of 2008 (ADAAA).
See 42 USC §12101 et. seq.

ANSWER:

         ArcelorMittal denies the allegations of Paragraph VII of the Complaint.



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                      ANSWER TO “RELIEF REQUESTED” SECTION

         ArcelorMittal denies that Plaintiff is entitled to any relief. ArcelorMittal denies every

remaining allegation in the Complaint that has not been separately and specifically admitted.

                           AFFIRMATIVE AND OTHER DEFENSES

         ArcelorMittal further asserts the following affirmative and other defenses. In asserting

these defenses, ArcelorMittal does not assume the burden of proof as to the matters that,

pursuant to law, are Plaintiff’s burden to prove. ArcelorMittal reserves the right to plead any

additional affirmative defenses as they become known during the pendency of this action.

                                         FIRST DEFENSE

         The Complaint fails to state a claim upon which relief can be granted as to ArcelorMittal.

                                        SECOND DEFENSE

         Plaintiff cannot maintain a claim against ArcelorMittal pursuant to the ADAAA, or

otherwise, because ArcelorMittal has not discriminated against her on any basis prohibited by the

ADAAA, or any other unlawful reason, or otherwise violated this law.

                                         THIRD DEFENSE

         To the extent Plaintiff’s claims are based on acts that occurred prior to any applicable

statute of limitations, such claims are time-barred.

                                       FOURTH DEFENSE

         To the extent Plaintiff failed to exhaust her administrative remedies and/or failed to

comply with any procedural prerequisites prior to bringing her claims, this Court lacks subject

matter jurisdiction over such claims or such claims are otherwise barred.

                                         FIFTH DEFENSE

         The Court’s remedies, if any, must be made in accordance with the applicable collective

bargaining agreement.

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                                        SIXTH DEFENSE

         ArcelorMittal had legitimate, non-discriminatory, non-retaliatory, and non-pretextual

reasons for the employment actions it took.

                                      SEVENTH DEFENSE

         To the extent Plaintiff alleges that any employee of ArcelorMittal acted in an unlawful

manner, such conduct, if it occurred, was outside the course and scope of that individual’s

employment, was not authorized or condoned by ArcelorMittal, and was undertaken without the

knowledge or consent of ArcelorMittal. Thus, ArcelorMittal is not liable for any such conduct, if

it occurred.

                                       EIGHTH DEFENSE

         ArcelorMittal avers that even if some impermissible motive were a factor in any

employment decision concerning Plaintiff, a claim that ArcelorMittal expressly denies, the same

decision(s) would have been reached for legitimate business reasons.

                                        NINTH DEFENSE

         Plaintiff’s claims are barred, in whole or in part, because ArcelorMittal exercised

reasonable care to prevent and promptly correct any conduct alleged to violate the ADAAA, or

any other applicable law, and because Plaintiff unreasonably failed to take advantage of

preventative or corrective opportunities provided by ArcelorMittal or to avoid harm otherwise.

                                        TENTH DEFENSE

         ArcelorMittal had reasonable cause to believe that Plaintiff was not a qualified individual

with a disability because she posed a direct threat to the health or safety of other individuals or

herself in the workplace.




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                                       ELEVENTH DEFENSE

         Plaintiff is not entitled to punitive damages because Defendant made good faith efforts to

comply with all applicable laws, including the ADAAA.

                                        TWELFTH DEFENSE

         Pleading in the alternative, Plaintiff cannot recover punitive or exemplary damages because

the conduct about which Plaintiff complains, if wrongful, did not result from fraud, malice, or

gross negligence.

                                      THIRTEENTH DEFENSE

         To the extent Plaintiff failed to mitigate her alleged damages, Plaintiff’s recovery, if any,

must be reduced accordingly.

                                     FOURTEENTH DEFENSE

         While it denies any liability to Plaintiff or that Plaintiff is entitled to any relief from or

against it in this action, in the event any monetary relief is awarded to Plaintiff then

ArcelorMittal would be entitled to a set-off or credit for all benefits and compensation of any

type that Plaintiff has received during the time period relevant to this action and through the date

such relief is awarded.

                                       FIFTEENTH DEFENSE

         Plaintiff cannot recover damages as alleged, or any such damages recovered must be

reduced, because Plaintiff caused or contributed to such damages by initiating the actions alleged

to have caused her damages.

                                       SIXTEENTH DEFENSE

         Plaintiff is barred and/or estopped from obtaining any relief by her own conduct, acts,

omissions, and unclean hands.



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                                   SEVENTEENTH DEFENSE

         Subject to further proof, Plaintiff’s claims may be barred, in whole or in part, by the

doctrines of waiver, estoppel, laches, and/or after-acquired evidence.

                                    EIGHTEENTH DEFENSE

         Plaintiff is barred from any recovery because she has improperly sued an entity that never

employed her. At all times relevant Plaintiff was employed by ArcelorMittal USA LLC.

Plaintiff was not employed by ArcelorMittal Burns Harbor LLC.

                                    NINETEENTH DEFENSE

         ArcelorMittal reserves the right to assert additional affirmative defenses as may appear

applicable during the course of this litigation, and hereby specifically reserve the right to amend

this Answer for the purpose of asserting any additional affirmative defenses.

         WHEREFORE, Defendant ArcelorMittal respectfully requests that the Court dismiss

with prejudice Plaintiff’s Complaint in its entirety, that judgment be entered in ArcelorMittal’s

favor, and that ArcelorMittal be awarded its costs, attorneys’ fees, expenses, and any and all

other relief the Court deems just and proper.




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DATED: December 7, 2018                Respectfully submitted,

                                       SEYFARTH SHAW LLP



                                       By: /s/ Mark W. Wallin
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